     Case 1:14-cr-20926-KMM Document 160 Entered on FLSD Docket 10/09/2015 Page 1 of 6

USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                                            Page 1 of 6




                               UNITED STATES DISTRICT COURT
                                                        Southern District of Florida
                                                               Miami Division

   UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
              v.
      RONEN NAHMANI (01)                                              Case Number: 1:14CR20926-01-KMM
                                                                      USM Number: 05843-104

                                                                      Counsel For Defendant: David Weinstein
                                                                      Counsel For The United States: Marton Gyires
                                                                      Court Reporter: Glenda Powers
The defendant was found guilty on count(s) 1 of the Indictment.
The defendant is adjudicated guilty of these offenses:
                                                                                                     OFFENSE
TITLE & SECTION                          NATURE OF OFFENSE                                                             COUNT
                                                                                                     ENDED
                                         Conspiracy to possess with intent to distribute controlled
21:846                                                                                              07/28/2014         1
                                         substances and controlled substance analogues
The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.
It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney
of material changes in economic circumstances.




                                                                    Date of Imposition of Sentence: 10/9/2015



                                                                    ____________________________________________
                                                                    K. MICHAEL MOORE
                                                                    United States Chief District Judge


                                                                             10/09/15
                                                                    Date: ______________________________________
     Case 1:14-cr-20926-KMM Document 160 Entered on FLSD Docket 10/09/2015 Page 2 of 6

USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                            Page 2 of 6

DEFENDANT: RONEN NAHMANI (01)
CASE NUMBER: 1:14CR20926-01-KMM
                                                            IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 240 Months as to Count 1.
The court makes the following recommendations to the Bureau of Prisons:
1. Designation to a facility as close as possible to family in South Florida.


The defendant is remanded to the custody of the United States Marshal.

                                                              RETURN
I have executed this judgment as follows:




Defendant delivered on ________________________________________ to ________________________________________

at ________________________________________, with a certified copy of this judgment.




                                                                 ___________________________________________
                                                                 UNITED STATES MARSHAL


                                                                 ___________________________________________
                                                                 DEPUTY UNITED STATES MARSHAL
     Case 1:14-cr-20926-KMM Document 160 Entered on FLSD Docket 10/09/2015 Page 3 of 6

USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                                                  Page 3 of 6

DEFENDANT: RONEN NAHMANI (01)
CASE NUMBER: 1:14CR20926-01-KMM
                              SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 Years as to Count 1.
The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court.
The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
The defendant shall cooperate in the collection of DNA as directed by the probation officer.
If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
    1. The defendant shall not leave the judicial district without the permission of the court or probation officer;
    2. The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first fifteen
       days of each month;
    3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4. The defendant shall support his or her dependents and meet other family responsibilities;
    5. The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
       acceptable reasons;
    6. The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
       controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8. The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9. The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
       a felony, unless granted permission to do so by the probation officer;
    10.The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
       any contraband observed in plain view of the probation officer;
    11.The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
       officer;
    12.The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and
    13.As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
       criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
       confirm the defendant’s compliance with such notification requirement.
     Case 1:14-cr-20926-KMM Document 160 Entered on FLSD Docket 10/09/2015 Page 4 of 6

USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                                 Page 4 of 6

DEFENDANT: RONEN NAHMANI (01)
CASE NUMBER: 1:14CR20926-01-KMM
                               SPECIAL CONDITIONS OF SUPERVISION
Permissible Search - The defendant shall submit to a search of his/her person or property conducted in a reasonable
manner and at a reasonable time by the U.S. Probation Officer.

Surrendering to Immigration for Removal After Imprisonment - At the completion of the defendant’s term of
imprisonment, the defendant shall be surrendered to the custody of the U.S. Immigration and Customs Enforcement
for removal proceedings consistent with the Immigration and Nationality Act. If removed, the defendant shall not
reenter the United States without the prior written permission of the Undersecretary for Border and Transportation
Security. The term of supervised release shall be non-reporting while the defendant is residing outside the United
States. If the defendant reenters the United States within the term of supervised release, the defendant is to report to
the nearest U.S. Probation Office within 72 hours of the defendant’s arrival.
     Case 1:14-cr-20926-KMM Document 160 Entered on FLSD Docket 10/09/2015 Page 5 of 6

USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                            Page 5 of 6

DEFENDANT: RONEN NAHMANI (01)
CASE NUMBER: 1:14CR20926-01-KMM
                          CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                      Assessment   Fine                Restitution
            TOTALS                                     $100.00     $0.00                 $0.00
If the defendant makes a partial payment, each payee shall receive an approximately proportioned
**Assessment due immediately unless otherwise ordered by the Court.
     Case 1:14-cr-20926-KMM Document 160 Entered on FLSD Docket 10/09/2015 Page 6 of 6

USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                                   Page 6 of 6

DEFENDANT: RONEN NAHMANI (01)
CASE NUMBER: 1:14CR20926-01-KMM
                              SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A. Lump sum payment of $100.00 due immediately.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.
This assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:
U.S. CLERK'S OFFICE
ATTN: FINANCIAL SECTION
400 NORTH MIAMI AVENUE, ROOM 08N09
MIAMI, FLORIDA 33128-7716
The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and the
U.S. Attorney's Office are responsible for the enforcement of this order.
The Government shall file a preliminary order of forfeiture within 3 days.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution
and court costs.
